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                       UNITED STATES DISTRICT COURT
                              DISTRICT OF OREGON
                               PORTLAND DIVISION

KELLY KELSEY, CHRISTINE KOTROUS,                   Case No. 13-cv-00354-HU
LINDA NOONAN, CHRISTINE OTTENS,
RITA ROBERTSON, KARYN SUGGS and                    DEFENDANTS GOLDSTAR
SHERRY WICKLER,                                    ESTATE BUYERS
                                                   CORPORATION’S AND
                           Plaintiffs,             WILLIAM ULRICH’S
                                                   MOTION TO DISMISS
      vs.
                                                   Fed. R. Civ. P. 12(b)(6)
GOLDSTAR ESTATE BUYERS
CORPORATION, a Minnesota corporation,              Request for Oral Argument
and WILLIAM ULRICH, an individual,
                           Defendants.




                              RULE 7(A) CERTIFICATION

      Defendants certify that they made a good faith effort through personal and

telephone conference to resolve the dispute and have been unable to do so.




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                                       MOTION TO DISMISS

          Defendants Goldstar Estate Buyers Corporation and William Ulrich, individually

and jointly, move to dismiss Plaintiffs’ Amended Complaint on the following grounds:

1.        As to All Claims (1-9) by All Plaintiffs: Each Plaintiff fails to state claims upon

which relief may be granted (Fed. R. Civ. Pro. 12(b)(6)) because Plaintiffs do not make

short and plain statements of the claims showing that they each are entitled to relief (Fed.

R. Civ. Pro. 8(a)(2)) as that standard has been interpreted by the Supreme Court in Bell

Atlantic Corporation v. Twombly, 550 U.S. 544 (2007) and Ashcroft v. Iqbal, 556 U.S.

662 (2009). All of Plaintiffs’ claims should be dismissed, and Plaintiffs should be

required to assert well-pleaded facts to support each of their claims.

2.        As to Claims 1-4 (Involuntary Servitude – ORS 30.867; Trafficking in

Persons – ORS 30.867; Sex Trafficking – 18 USC § 1595; Forced Labor – 18 USC §

1595) by all Plaintiffs: Plaintiffs fail to state claims upon which relief may be granted

(Fed. R. Civ. Pro. 12(b)(6)) because Plaintiffs do not state sufficient factual matter to

state claims for relief that are plausible on their face. See Ashcroft v. Iqbal, 556 U.S. 662

(2009). In particular, threats of unemployment cannot satisfy the necessary elements of

“coercion” or “force.”

3.        As to Claim 7 (Wrongful Discharge) by Plaintiffs Kotrous and Noonan:1

Plaintiffs fail to state a claim upon which relief may be granted (Fed. R. Civ. Pro.

12(b)(6)) because their claim for common law wrongful discharge is precluded by the

statutory scheme that addresses the same alleged misconduct.


1
    No other Plaintiffs asserted a claim for wrongful discharge (Claim 7).
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                  4.     As to Claim 9 (Breach of Implied Covenant of Good Faith and Fair Dealing)

                  by all Plaintiffs: Plaintiffs fail to state a claim upon which relief may be granted (Fed. R.

                  Civ. Pro. 12(b)(6)) because “Minnesota does not recognize an implied covenant of good

                  faith and fair dealing in employment contracts.” See Bratton v. Menard, Inc., 438 N.W.2d

                  116, 118 (Minn. App. 1989).

                         This motion is supported by the accompanying memorandum of points of

                  authorities, the pleadings in this matter, subsequent argument offered by Defendants in

                  writing or at oral argument, and any other matter properly before the Court.

                         Respectfully Submitted,



                  GORDON & REES LLP                              SMITH FREED & EBERHARD



                  /s/ Daniel J. Nichols                          /s/ Philip R. Bennet
                  Christopher E. Hawk, OSB # 061635              Philip R. Bennett, OSB # 841687
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                  Counsel for Defendant Goldstar Estate
                  Buyers Corporation

                  Dated: January 21, 2014




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